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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 WISCONSIN CENTRAL LTD.,                 )
                                         )
            Plaintiff/Counter-Defendant, )
                                         )            Case No.: 1:16-cv-04271
 v.                                      )
                                         )            Hon. Andrea R. Wood
 SOO LINE RAILROAD COMPANY,              )
                                         )
            Defendant/Counter-Plaintiff. )

                MOTION FOR LEAVE TO WITHDRAW APPEARANCE

       Pursuant to Local Rule 83.17, Jenner & Block LLP (“Jenner & Block”) hereby moves to

withdraw the appearance of Alexander J. Bandza on behalf of Plaintiff/Counter-Defendant

Wisconsin Central Ltd. (“WCL”) because as of April 17, 2020, Mr. Bandza will no longer be

affiliated with Jenner & Block. Mr. Siros and Mr. Vail will continue to act as counsel for WCL.

       Dated: April 14, 2020                Respectfully submitted,

                                       By: /s/ Alexander J. Bandza




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2020, I caused a true and correct copy of the foregoing

Motion for Leave to Withdraw Appearance to be served on all counsel of record via the Court’s

CM/ECF electronic filing system.


                                            /s/ Steven M. Siros
                                            Steven M. Siros
                                            Andrew W. Vail
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                                            Wisconsin Central Ltd.




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